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                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF CALIFORNIA
              BEFORE THE HONORABLE KIMBERLY J. MUELLER




RALPH COLEMAN, et al.,
                                   No. 2:90-cv-00520-KJM-DB
            Plaintiffs,
v.
                                            MINUTES

                                   Date: October 4, 2023
GAVIN NEWSOM, et al.,
                                   Deputy Clerk: C. Schultz
            Defendants.
                                   Court Reporter: Kimberly Bennett
_________________________/


Counsel for Plaintiffs:

Lisa Ells
Jenny Yelin
Marissa Hatton (afternoon proceedings)
Alexander Gourse
Adrienne Pon Harrold
(Greg Gonzalez, Paralegal Assisting Counsel)


Counsel for Defendants:

Paul Mello
Samantha Wolff
Lawrence Cirelli
Elise Thorn
Namrata Kotwani
Laurel O’Conner
Damon McClain
(Vikashni Pooni, Paralegal Assisting Counsel)
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ENFORCEMENT HEARING (Day 3):
 9:10 a.m.    Attorneys and support staff present as identified
              above. The court and counsel discussed
              housekeeping matters. The parties’ joint request as
              to scheduling was granted. The court directed the
              parties meet and confer and then consult with the
              Courtroom Deputy to find a time for the parties to
              present oral argument related to timelines for
              transferring inmates to higher levels of care.
 9:20 a.m.    Witness present. Direct examination of previously
              sworn defense witness, Dr. Toni Martello,
              continued. Examination conducted by Ms. Wolff.
 9:25 a.m.    Cross examination began.       Examination conducted by
              Ms. Ells.
 9:54 a.m.    Redirect examination began.       Examination conducted
              by Ms. Wolff.
 9:55 a.m.    Witness excused. Defendants’ witness, Dr. Amar
              Mehta, sworn and testified on direct. Examination
              conducted by Mr. Mello.
 10:45 a.m.   Witness and all parties excused for a morning
              break.
 11:00 a.m.   Court back in session. Witness and all parties
              present. Direct examination of Dr. Amar Mehta
              continued. Examination conducted by Mr. Mello.
 12:00 p.m.   Witness and all parties excused for a lunch break.
 1:05 p.m.    Court back in session. Witness and all parties
              present. Direct examination of Dr. Amar Mehta
              continued. Examination conducted by Mr. Mello.
 1:10 p.m.    Cross examination began.       Examination conducted by
              Ms. Ells.
 1:55 p.m.    Redirect examination began. Examination conducted
              by Mr. Mello.
 2:00 p.m.    Witness excused. Defense rested. Plaintiffs’
              witness, Dr. Timothy Brown, sworn and testified on
              direct. Examination conducted by Ms. Hatton.
 2:30 p.m.    All parties excused for an afternoon break.
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 2:45 p.m.      Court back in session. Witness and all parties
                present. Direct examination of Dr. Brown
                continued. Examination conducted by Ms. Hatton.
 3:20 p.m.      Cross examination began.       Examination conducted by
                Mr. Cirelli.
 4:15 p.m.      Witness and all parties excused for an afternoon
                break.
 4:30 p.m.      Court back in session. Witness and all parties
                present. Cross examination of Dr. Brown continued.
                Examination conducted by Mr. Cirelli.
 4:40 p.m.      Redirect examination began. Examination conducted
                by Ms. Hatton.
 4:55 p.m.      Recross examination began. Examination conducted by
                Mr. Cirelli.
 5:00 p.m.      Witness excused. All parties excused for evening
                recess. Enforcement Hearing (Day 4) set for October
                5, 2023 at 9:00 a.m.

EXHIBITS:

N/A

TIME IN COURT: 6 Hours
